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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,                      MEMORANDUM, ORDER
                                               AND JUDGMENT OF
                                               DISMISSAL
             – against –
                                               15-CR-366

SHANI MONCRIEFFE,

                    Defendant.



Parties                                     Appearances

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JACK B. WEINSTEIN, Senior United States District Judge:

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  I.     Introduction

         This case joins a distressing group in which an injustice has been committed because a

person threatened with deportation has no attorney. Shani Moncrieffe, the defendant, faced

deportation proceedings in 1995, after he pled guilty in a New York State court to the crime of

robbery in the first degree. Nineteen years old, in shackles, without counsel and without the

guidance of anyone, including his mother who was on life support, Mr. Moncrieffe was tried pro

se before an immigration judge and the Board of Immigrations Appeal (“BIA”). He was found to

be deportable and ineligible for further relief because they assumed, improperly, that he had been

convicted in New York of an aggravated felony and a firearms offense.

         Deported, he soon returned to the United States. Some twenty years later, after a life free

of crime and after becoming a role model for his family and community, Mr. Moncrieffe again

faces deportation. He has been charged with the crime of illegal reentry.

         On December 16, 2015, he filed a motion to dismiss the indictment in the instant case,

challenging the validity of the 1995 deportation order. Alleged is that the deportation following

his 1993 state conviction was procedurally unfair and obtained in violation of immigration law

and due process. If this claim is established—as it is—the 1995 deportation cannot serve as the

basis for the current illegal reentry criminal prosecution.

         Mr. Moncrieffe’s deportation was improper. It was based on a misapplication of the

categorical approach in determining whether his state conviction supported removal. Had the
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categorical approach been properly applied, he would not have been found to be deportable, the

immigration proceedings would have been terminated, he would not have been deported, and he

would not have entered the country illegally. See infra Part V.C.1–3.

       Defendant’s motion to dismiss the indictment is granted.

 II.   Factual Background

       A. Early Life

       Shani Moncrieffe is a 40 year old citizen of Jamaica. Decl. of Jan A. Rostal in Support of

Def.’s Motion to Dismiss Indictment, Dec. 16, 2015, ECF No. 24 (“Rostal Decl.”), at ¶¶ 4, 17. He

first arrived in the United States in 1982, at age seven, when he immigrated with his mother and

two siblings. See id., Ex. D, Immigrant Visa and Alien Registration (“Ex. D”), at SM000303. He

entered as a lawful permanent resident on an immigrant visa based on the petition of his mother.

Id.; see also Gov’t’s Mem. of Law in Opp’n to Def.’s Mot. to Dismiss Indictment, Feb. 2, 2016,

ECF No. 29 (“Gov’t Opp’n Mem.”), Ex. 1, Record of Deportable Alien (“Ex. 1”), at SM000051.

       The defendant grew up in small low-rent apartments in Queens, where he lived with his

mother, two sisters, his stepfather, stepsiblings, and adopted sister. Rostal Decl., at ¶ 5. His mother

worked at night as a nursing home caretaker and took part-time weekend jobs to support the family.

Id. As a boy, Mr. Moncrieffe held a variety of jobs, including running a paper route, bagging

groceries, and bussing tables at restaurants. Id.

       Defendant struggled in school and was repeatedly held back. Id. at ¶ 6. He attended, but

dropped out of, Springfield Gardens High School, which closed in 2008 due to low test scores and

a high drop-out rate. Id. Drugs and gang activity were prevalent problems in his high school and

among his neighborhood peers. Id.




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       B. 1993 Robbery Arrest

       In 1993, at age eighteen, Mr. Moncrieffe was arrested after he and two other boys robbed

passengers on a bus. Id. at ¶ 7. He claims that the crime was carried out to help a friend repay a

debt to a drug dealer who had threatened violence in case of non-payment. Id. at ¶ 6.

       C. Robbery Indictment and Guilty Plea

       On August 26, 1993, defendant was indicted in Queens County, New York, for robbery in

the first degree in violation of New York Penal Law sections 160.15(2) and 160.15(4). See Gov’t

Opp’n Mem., Ex. 2, People v. Pope, et al., Indictment No. 3352/93 (“Ex. 2”), at SM000253–54.

Charged was that on or about July 30, 1993, the defendant, together with two other named persons:

(1) “forcibly stole . . . United States currency . . . and in the course of the commission of the crime

or of immediate flight therefrom,” the defendant was “armed with a deadly weapon to wit: a

handgun”; and (2) forcibly stole money from an individual, and “displayed what appeared to be a

handgun.” See id. at SM000254.

       Shortly after he was charged, and on the advice of appointed counsel, Mr. Moncrieffe pled

guilty to the crime of robbery in the first degree in violation of New York Penal Law section

160.15. See Rostal Decl., at ¶ 7; see also Gov’t Opp’n Mem., Ex. 3, Sentence & Commitment,

Oct. 22, 1993 (“Ex. 3”), at SM000198. There is no satisfying proof that he pled to any specific

subsection of section 160.15. He was sentenced to an indeterminate term of imprisonment of

between three and one-third to ten years. See Gov’t Opp’n Mem., Ex. 3, at SM000198. Defendant

states that he was not advised of the possibility that he could be deported as a result of his guilty

plea. Rostal Decl., at ¶ 7.

       D. Criminal Sale of a Controlled Substance

       In June 1993, prior to being sentenced for the robbery, defendant was separately indicted

in Kings County for criminal sale of a controlled substance in the third degree in violation of New

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York Penal Law section 220.39(1). See Gov’t Opp’n Mem., Ex. 6, People v. Bradum, et al.,

Indictment No. 6170/93 (“Ex. 6”), at SM000214–15. Charged was that the defendant, together

with two other named persons, knowingly and unlawfully sold cocaine. See id. In March 1994,

Mr. Moncrieffe pled guilty to criminal sale of a controlled substance in the third degree in violation

of New York Penal Law Section section 220.39(1). See Gov’t Opp’n Mem., Ex. 7, Sentence &

Commitment, Mar. 28, 1994 (“Ex. 7”), at SM000217. He was sentenced to one to three years

imprisonment to run concurrently with his sentence for robbery in the first degree. Id.

       E. Immigration Proceedings

             1. Deportation Hearing

       On October 19, 1994, the Immigration and Naturalization Service (“INS”) issued an Order

to Show Cause based on defendant’s New York robbery conviction. Rostal Decl., Ex. F, Order to

Show Cause and Notice of Hearing, Oct. 19, 1994 (“Ex. F”). Charged was that Mr. Moncrieffe

was a “deportable alien” pursuant to two grounds: (1) conviction of an aggravated felony of

robbery; and (2) conviction of a firearms violation.         See § 241(a)(2)(A)(iii), 8 U.S.C. §

1251(a)(2)(A)(iii) (1994); § 241(a)(2)(C), 8 U.S.C. § 1251(a)(2)(C) (1994); Rostal Decl., at ¶ 8

and Ex. F.

       On February 9, 1995, an immigration judge conducted a deportation hearing while Mr.

Moncrieffe was serving his state sentence at the Ulster Correctional Facility in Napanoch, New

York. Rostal Decl., Ex. A, Oral Decision of the Immigration Judge and Transcript of Proceedings,

Feb. 9, 1995 (“Ex. A”). Aged nineteen, Mr. Moncrieffe appeared in shackles and without counsel.

Id. The immigration judge informed Mr. Moncrieffe of his right to an attorney, but no effort was

made by anyone to provide an attorney for this administrative hearing:

                [IMMIGRATION JUDGE:] What would you like to do? You’ve
                got to make a choice this morning. You can either go ahead with
                your hearing this morning with me and you can represent yourself

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              or you can ask me for a delay in which you can try to find yourself
              a lawyer.

              [MR. MONCRIEFFE:] I want to go ahead.

              Q. You want to go ahead this morning?

              A. Yes.

              Q. Do you waive your right to a lawyer?

              A. I’m going to get a lawyer later on.

              Q. But you want to go ahead with it now?

              A. Yeah.

              Q. What’s going to happen to you if I deport you and there’s no
              need for a lawyer later on? There won’t be a later on. Have you
              thought about that?

              A. I want –

              Q. You know, you can be deported this morning if you go ahead
              and represent yourself. Do you understand that?

              A. Yes.

              Q. Is that what you want to do?

              A. Yeah, I want to go on.

              Q. You want to go ahead with your case?

              A. Yeah.

              Q. Without a lawyer. All right, sir, we’ll do that.

Id. at 2:5–3:2 (emphasis added).

       The hearing continued and Mr. Moncrieffe proceeded, pro se, to answer the questions of

the immigration judge. Asked was whether he was a citizen of Jamaica who entered the country

at New York City as a legal permanent resident around May 13, 1982; the defendant responded

“Yes.” Id. at 4:9–13. The immigration judge also asked whether the defendant had been convicted

of robbery in the first degree on October 1, 1993 in Queens County, New York; whether he

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admitted that he was armed with a handgun during the robbery; and whether he was sentenced to

a term of three years and four months to ten years of imprisonment. Mr. Moncrieffe responded

“Yes” to all three questions:

               Q. I’m going to ask you some questions that come directly from that
               Order to Show Cause and I want you to answer each of them as
               truthfully as you can.

               The first question is, sir, you are not a native of the U.S., are you?

               A. No.

               Q. Are you a native and citizen of Jamaica?

               A. Yes.

               Q. Did you come into this country at New York City around May
               13th of 1982 as a lawful permanent resident?

               A. Yes.

               Q. Then later on October 1st of 1993 were you convicted in the
               Queens County New York Court for first degree robbery that was
               committed on July 30th of ‘93?

               A. Yes.

               Q. And, sir, do you admit that during the commission of that first
               degree robbery that you were armed with a handgun?

               A. Yes.

               Q. And, finally, do you admit that you were sentenced for that crime
               for a max – a minimum term of three years and four months to a
               maximum of ten years?

               A. Yes.

Id. at 4:6–24 (emphasis added). Note that Mr. Moncrieffe agreed that: (1) he had been convicted

of robbery in the first degree, but no specific subsection was mentioned; and (2) he had been armed

with a “handgun,” but not that he had pled guilty to being so armed.




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       The immigration judge then found that the INS had met its burden of proof as to Mr.

Moncrieffe’s deportability by “clear, convincing, and unequivocal evidence.” Id. at 8:5–9. He

determined that the defendant was deportable under: (1) section 241(a)(2)(A)(iii) of the

Immigration and Nationality Act (“INA”) for having been convicted of an aggravated felony; and

(2) section 241(a)(2)(C) of the INA for a firearms violation, having admitted to using a firearm:

               [Q.] First of all, under Section 241(a)(2)(A)(iii) of the Immigration
               Act you’ve been convicted of an aggravated felony which first
               degree robbery is. Do you understand that?

               A. Yes.

               Q. You can be deported for that alone. Also, under Section
               241(A)(2)(C) of the Immigration Act, you have admitted to using a
               handgun so you may be deported for that. That’s a firearms
               violation under the Immigration Act. Do you understand that?

               A. Yes.

               Q. All right. I find that the government has sustained its burden of
               proof as to deportability in your case by clear, convincing, and
               unequivocal evidence.

Id. at 5:7–20 (emphasis added). Note that the immigration judge told defendant that the “first

degree robbery” was “an aggravated felony” which, as explained below, was not clear and needed

a defense counsel to explain. Defendant was also told that he had admitted to “using a handgun,”

when he had only agreed he had been “armed with a handgun.” See id. at 4:18–20, 5:12–15

(emphasis added). What he had actually pleaded to was not analyzed at all.

       The immigration judge then went on to assess whether any relief from deportation was

available to Mr. Moncrieffe. Id. at 5:21–23. He asked “do you want to try to stay here or do you

want to be deported back to Jamaica?” to which defendant answered “I want to go back but I [want

to] talk to my mom first.” Id. at 5:25–6:2 (emphasis added). At the time of the hearing, Mr.

Moncrieffe’s communications with his mother were limited; she had been involved in a car


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accident and was still on life support. Rostal Decl., at ¶ 11; see also Hr’g Tr., Feb. 25, 2016, at

42:12–15. The statement “I [want to] talk to my mom first” suggested he had not yet waived the

right to contest deportation.

       The immigration judge told Mr. Moncrieffe that he “ha[d] to go through with the

proceedings as if [Mr. Moncrieffe] wanted to stay here.” Rostal Decl., Ex. A, at 6:3–6 (emphasis

added). He asked defendant how old he was, whether he was single or married, and whether his

mother who lived in the United States was a United States citizen. Id. at 6:8–22. To this last

question, Mr. Moncrieffe replied “I don’t know. I don’t think so.” Id. at 6:23. The government

attorney noted that “[a]s of October 5, 1994, the latest we have, she was a lawful permanent

resident and not a United States citizen.” Id. at 7:2–4.

               Q. […] I have to go through the proceedings as if you wanted to
               stay here so in other words I’ve got to go through the rest of this
               proceeding the same way as if you wanted to fight to stay here, okay.
               You understand that part of it?

               A. Yes.

               Q. […] First of all, I want to know how old you are?

               A. Nineteen.

               Q. Nineteen now?

               A. Yeah.

               Q. Okay. Single or married?

               A. Single.

               Q. Okay. Mother and father still living?

               A. Yes.

               Q. Where do they live?

               A. My mother live here. My father live in Jamaica.

               Q. Okay. Is your mother a green card holder?

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                  A. Yes. She married too.

                  Q. Okay. But she’s a lawful permanent resident. She’s not a U.S.
                  citizen, right?

                  A. I don’t know. I don’t think so.

                  JUDGE TO MR. MUNJACK

                  Q. What does your file show, Mr. Munjack, as to his mother?
                  Anything?

                  A. It shows that she’s a lawful permanent resident, Your Honor. As
                  of October 5, 1994, the latest we have, she was a lawful permanent
                  resident and not a United States citizen.

Id. at 6:3–7:4.

        The immigration judge then concluded that there was no relief available to Mr. Moncrieffe.

Id. at 7:14–16. He explained that because he had found that defendant had been convicted of a

gun violation, defendant could not stay in the United States:

                  [T]he only reason I’m asking you these questions is because you
                  have a gun violation – gun charge that you’ve been convicted of.
                  And the Federal Immigration law says that if you have a gun charge
                  violation against you in immigration proceedings that you can’t stay
                  here in this country unless you have a wife and you’re single. . . .
                  [O]r a mother and a father or a father who are United States citizens
                  could file a petition for you which would waive that gun charge.
                  You don’t have that. So I find that there is no relief available for
                  you and I could not let you stay in this country even if I wanted to.

Id. at 7:6–16 (emphasis added). An attorney would not have accepted so cavalier a description of

defendant’s legal position.

        The judge told defendant that he could get no relief from the forthcoming order of

deportation:

                  I find that the government sustains the burden of proof by clear,
                  convincing, and unequivocal evidence as to deportability. I find also
                  that there is no relief in your case. You’re not qualified for
                  adjustment of status in this case and so I’m going to order you
                  deported to Jamaica.

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Id. at 8:5–9 (emphasis added).

       Finally, the immigration judge inquired if Mr. Moncrieffe wished to appeal his decision.

See id. at 9:5. Again, Mr. Moncrieffe indicated that he wished to consult his mother before making

a decision: “Um—well, talk to my mother and see what she going to say. I might appeal.” Id. at

9:6–7 (emphasis added).

       Defendant subsequently confirmed that he did wish to appeal, and the immigration judge

explained the purpose of an appeal: “[W]hat you appeal for is to tell them that the judge made an

error and you tell them what it was and you then try to hope that they will overturn my decision

and give you a new hearing or whatever.” Id. at 10:5–8 (emphasis added). Defendant was

reminded of the deadline for the timely filing of an appeal. Id. at 10:18–20. He still had no

attorney. He was given no clue as to how he might get an attorney or what was a possible error of

the administrative judge.

           2. Board of Immigration Appeals

       The notice of appeal filed by Mr. Moncrieffe is missing from the record. So the nature of

the appeal and the issues raised by defendant cannot now be determined. The parties agree that

the opinions of the BIA indicate that the appeal was timely filed by defendant pro se. See Rostal

Decl., at ¶ 14; Gov’t Opp’n Mem., at 8, n.3.

                      a. Remand to Immigration Judge

       On June 9, 1995, the BIA determined that the “record of the proceedings in this case does

not reveal a certified copy of the conviction record.” Rostal Decl., Ex. B, BIA Decision of Jun. 9,

1995, at SM000062. It remanded to the office of the immigration judge “for inclusion of the record

of conviction:”

               PER CURIAM. This matter comes before us by way of the
               respondent’s appeal of the Immigration Judge’s decision dated
               February 9, 1995, finding the respondent deportable as charged, and
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               statutorily ineligible for any form of relief from deportation. The
               respondent was convicted in the New York State Supreme [Court]
               on October 1, 1993, for the offense of first degree robbery, in
               violation of section 160.15 of the New York State Penal Law. It is
               alleged that the respondent was armed with a handgun in the course
               of committing the offense, for which he was sentenced to an
               indeterminate span of three to ten years incarceration.

               Our review of the record of proceedings in this case does not reveal
               a certified copy of the conviction record. Therefore, we cannot
               determine the respondent’s eligibility for relief from deportation.
               The record is hereby remanded to the office of the Immigration
               Judge for inclusion of the record of conviction.

Id. (emphasis added). There was, and still is, no certified copy of the plea, so we do not know

whether the defendant pled to a specific subsection, and, as indicated below, in the instant criminal

case it must be assumed that he did not plead to a specific subsection of section 160.15 because

there is no evidence that he did so.

                       b. Immigration Judge Decision Affirmed

       The second BIA opinion, dated October 24, 1995, indicates that “the documentation has

now been provided and the record has been returned to us for adjudication of the respondent’s

appeal.” Id., Ex. B, BIA Decision of Oct. 24, 1995, at SM000058. Here, the BIA affirmed the

immigration judge’s decision. Id.

       First, it found that Mr. Moncrieffe’s robbery conviction was for an “aggravated felony,”

making him deportable under former INA section 241(a)(2)(A)(iii):

               Inasmuch as the respondent’s first-degree robbery conviction was
               for a “crime of violence” for which the term of imprisonment
               imposed was at least 5 years, and given that both his criminal
               conduct occurred and his conviction was entered in 1993, we find
               that he has been convicted of an “aggravated felony” for purposes
               of section 101(a)(43(F) of the Act.

Id. at SM000059 (emphasis added).




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       Second, with respect to whether the defendant was also deportable as a non-citizen

convicted of a firearms violation, the BIA noted that “[t]he judgment of conviction included in the

record indicates only that the respondent was convicted of robbery in the first degree.” Id.

(emphasis added). The BIA recognized that only subsections (2) and (4) of section 160.15

“relate[d] in any way to the use, possession, or the carrying of a firearm.” Id. at SM000060.

Because section 241(a)(2)(C) of the INA “is predicated in pertinent part upon a conviction for

using, owning, possession, or carrying a firearm in violation of any law,” the BIA noted that in

order to be deportable the defendant “would have had to have been convicted under either

subsection 2 or 4 of section 160.15 of the New York Penal Law.” Id. (emphasis added). The BIA

explained:

               It is apparent that only subsections 2 and 4 of section 160.15 relate
               in any way to the use, possession, or the carrying of a firearm.
               Hence, in order to be deportable under section 241(a)(2)(C) of the
               Act, which subsection is predicated in pertinent part upon a
               conviction for using, owning, possession, or carrying a firearm in
               violation of any law, the respondent would have had to have been
               convicted under either subsection 2 or 4 of section 160.15 of the
               New York Penal Law.

               As noted above, the judgment of conviction does not specify the
               subsection of section 160.15 or the specific count under which the
               respondent was convicted.

Id. (emphasis added).

       Although the BIA acknowledged that the judgment of conviction did not specify under

which subsection Mr. Moncrieffe was convicted, it assumed that the conviction was under

subsection (2) or (4) of New York Penal Law section 160.15:

               [T]he criminal indictment supporting the conviction establishes that
               the respondent was charged with a total of two counts of robbery in
               the first degree, one under subsection 2 and the other under
               subsection 4. Hence it can be inferred that the respondent’s
               conviction for robbery in the first degree was premised on one of
               these two subsections. Furthermore we note that count one of the

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               indictment states that “the defendants [including therefore the
               respondent] were armed with a deadly weapon to wit: a handgun.”
               Additionally, we observe that at his deportation hearing, the
               respondent himself admitted that during the commission of the
               robbery he was armed with a handgun . . . . Based on this evidence,
               we find that the respondent’s conviction for robbery in the first
               degree is correctly viewed as also being a conviction for a firearms
               violation for purposes of the immigration law.

Id. (emphasis added). Based on its assumptions, unsupported by the record, the BIA concluded

that Mr. Moncrieffe was convicted of a firearms offense and deportable under former section

241(a)(2)(C) of the INA. Id.

                        c. Relief from Deportation

       The BIA then turned to whether the defendant qualified for any relief from deportation,

“given that he has been a lawful permanent resident of the United States for over 13 years.” Id.

According to the BIA, “relief is available in deportation proceedings only to those aliens who have

been found deportable under a ground of deportability for which there is a comparable ground of

excludability.” Id. at SM000061 (emphasis added). It then concluded:

               Inasmuch as the respondent is deportable under section 241(a)(2)(C)
               of the Act, a section having no counterpart among the enumerated
               grounds of exclusion, he is ineligible as a matter of law for relief
               under section 212(c) of the Act, notwithstanding the fact that he has
               resided in this country for the past 13 years as a lawful permanent
               resident.

Id. (emphasis added).

       The BIA noted that the defendant “might be able to establish his eligibility for adjustment

of status based on his relationship to his lawful permanent resident mother.” Id. (emphasis added).

Yet, “[t]here is no indication from the record . . . that the respondent’s mother has actually

petitioned his admission by filing a visa petition on his behalf.” Id. (emphasis added). It explained:

               It is conceivable that the respondent might be able to establish his
               eligibility for adjustment of status based on his relationship to his
               lawful permanent resident mother. There is no indication from the

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               record, however, that the respondent’s mother has actually
               petitioned his admission by filing a visa petition in his behalf. Even
               assuming that such a petition had been filed and approved, the
               respondent cannot establish, as he must for adjustment purposes,
               that an immigrant visa is immediately available to him. Therefore
               he cannot demonstrate, even preliminarily, his eligibility for
               adjustment of status.

Id. (emphasis added).

       It will be recalled that the mother at the moment was seriously debilitated from an auto

accident and that defendant had no attorney. See supra Part II.E.1. How could he possibly make

the required record without counsel? The BIA also determined that, based on his “aggravated

felony conviction,” Mr. Moncrieffe was “ineligible for suspension of deportation because he [was]

precluded as a matter of law from establishing his good moral character . . . .” Rostal Decl., Ex.

B, BIA Decision of Oct. 24, 1995, at SM000061. The BIA concluded:

               Since the respondent is deportable as charged and there appears to
               be no relief from deportation for which he might qualify
               notwithstanding the favorable factors now enunciated, we have no
               choice but to dismiss the appeal. Accordingly, the appeal is
               dismissed.

Id. (emphasis added). In short, defendant’s “favorable factors” were never considered.

           3. Deportation

       Mr. Moncrieffe served his term for his 1993 conviction. See Rostal Decl., at ¶ 16. He was

paroled to immigration custody on July 28, 1999. Id. He was deported to Jamaica on August 18,

1999. Rostal Decl., Ex. E, Case Closure Look Screen, Feb. 20, 2002 (“Ex. E”). No direct appeal

or habeas relief was sought by defendant between the time of the BIA’s ruling and his deportation.

He still had no attorney.

       F. Return to United States

       Subsequent to his deportation, Mr. Moncrieffe returned to the United States and lived with

his family up until the time of his arrest and the criminal indictment in the instant case. Rostal

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Decl., at ¶ 17. Since his return, Mr. Moncrieffe has not been found guilty of any other criminal

offense. See id.; see also Hr’g Tr., Feb. 25, 2016 (indicating the presence of persons supportive

of defendant at the hearing before this court on the instant motion).

       Defendant’s family, friends, clients, and fellow church members attest to his full

rehabilitation. Rostal Decl., Ex. C, S. Moncrieffe Character References (“Ex. C”). He has

obtained a General Educational Development diploma (“GED”) and followed a career in

landscaping, construction and carpentry, successfully opening his own business. Rostal Decl., at

¶ 17. He is a member of the St. Albans Congregational Church in Queens, where he sings in two

choirs and participates in the church’s ministries. Id. He has been characterized as a “role model”

for community youth. Rostal Decl., Ex. C.

       G. Arrest and Indictment in Instant Case

       About April 13, 2015, Mr. Moncrieffe was arrested by the New York City Police

Department (“NYPD”) for unlicensed operation of a motor vehicle, in violation of New York

Vehicle and Traffic Law section 509. See Compl., July 17, 2015, ECF No. 1 (“Compl.”), at ¶ 2.

United States Immigration and Customs Enforcement (“ICE”) was notified of the arrest. Id. at ¶

3. That arrest is not the basis for the current federal criminal charge.

       On July 29, 2015 Mr. Moncrieffe was indicted for an illegal reentry. See Indictment, July

29, 2015, ECF No. 5. Charged was that Mr. Moncrieffe, a non-citizen “who had previously been

deported from the United States after a conviction for the commission of an aggravated felony,

was found in the United States, without the Secretary of the United States Department of Homeland

Security having expressly consented to such alien’s applying for admission.” See 8 U.S.C. §§

1326(a), 1326(b)(2) and 18 U.S.C. § 3551 et seq; Indictment, July 29, 2015, ECF No. 5. Implied

in the indictment is that he had been “properly deported.”



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III.   Defendant’s Motion to Dismiss Indictment

       Defendant filed a motion to dismiss the indictment on December 16, 2015. See Def.’s Mot.

to Dismiss Indictment, Dec. 16, 2015, ECF No. 24 (“Def.’s Mot. to Dismiss”). Contended is that

the deportation following his 1993 robbery conviction was procedurally unfair and obtained in

violation of immigration law and due process; thus, it could not serve as the basis for an illegal

reentry prosecution under section 1326(d) of Title 8 of the United States Code. See id. According

to Mr. Moncrieffe, he is entitled to challenge the validity of the deportation order on which his

illegal reentry charges are based because he satisfies the elements of section 1326(d) in that: (1)

he exhausted “any administrative remedies that may have been available to seek relief against the

order”; (2) his deportation proceedings “improperly deprived [him] of the opportunity for judicial

review”; and (3) “entry of the order was fundamentally unfair.” See id. at 2; see also 8 U.S.C. §

1326(d).

       The government opposes the motion, arguing that Mr. Moncrieffe has failed to satisfy the

second and third prongs of section 1326(d) because: (1) judicial review was available to him in the

form of an appeal to the Court of Appeals for the Second Circuit or a habeas challenge, but he

failed to pursue either avenue; and (2) the proceedings were not fundamentally unfair because the

BIA “reviewed his appeal consistent with the law at the time and new legal principles cannot be

applied to already closed cases . . . .” Gov’t Opp’n Mem., at 2.

IV.    Law

       A. Illegal Reentry

       Section 1326(a) of Title 8 of the United States Code makes it a crime for a deported non-

citizen to enter, attempt to enter, or be found in the United States without the express consent of

the Attorney General:

               (a) In general

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               Subject to subsection (b) of this section, any alien who--

               (1) has been denied admission, excluded, deported, or removed or
               has departed the United States while an order of exclusion,
               deportation, or removal is outstanding, and thereafter

               (2) enters, attempts to enter, or is at any time found in, the United
               States, unless (A) prior to his reembarkation at a place outside the
               United States or his application for admission from foreign
               contiguous territory, the Attorney General has expressly consented
               to such alien’s reapplying for admission; or (B) with respect to an
               alien previously denied admission and removed, unless such alien
               shall establish that he was not required to obtain such advance
               consent under this chapter or any prior Act,

               shall be fined under Title 18, or imprisoned not more than 2 years,
               or both.

8 U.S.C. § 1326(a).

       Because a prior valid deportation order is an element of an illegal reentry offense, a

defendant charged under section 1326(a) may collaterally attack the validity of the prior

deportation order and proceedings. United States v. Mendoza–Lopez, 481 U.S. 828, 836–39

(1987); see also United States v. Gonzalez–Roque, 301 F.3d 39, 45 (2d Cir. 2002); United States

v. Calderon, No. 02-CR-0691, 2003 WL 1338943, at *4 (E.D.N.Y. Jan. 9, 2003) aff’d, 391 F.3d

370 (2d Cir. 2004); United States v. Gill, 748 F.3d 491, 493, 497 (2014).

       Deportation proceedings are not valid and cannot be used to establish prior deportation for

purposes of an illegal reentry criminal prosecution if they failed to comply with the requirements

of due process. See, e.g., Mendoza–Lopez, 481 U.S. at 837–41; United States v. Fernandez–

Antonia, 278 F.3d 150, 156 (2d Cir. 2002); Calderon, 2003 WL 1338943 at *4.

       B. Collateral Challenge to Prior Deportation Order

       A non-citizen charged with illegal reentry in violation of section 1326 may challenge nunc

pro tunc the underlying order of removal or deportation on limited grounds, as provided for under

section 1326(d):

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               In a criminal proceeding under this section, an alien may not
               challenge the validity of the deportation order described in
               subsection (a)(1) of this section or subsection (b) of this section
               unless the alien demonstrates that--

               (1) the alien exhausted any administrative remedies that may have
               been available to seek relief against the order;

               (2) the deportation proceedings at which the order was issued
               improperly deprived the alien of the opportunity for judicial review;
               and

               (3) the entry of the order was fundamentally unfair.

8 U.S.C. § 1326(d). A defendant must establish all three prongs in section 1326(d). See

Fernandez-Antonia, 278 F. 3d at 157.

           1. Exhaustion of Remedies

       Exhaustion of administrative remedies generally—but not always—requires a non-citizen

to appeal the order of an immigration judge to the BIA. See Calderon, 2003 WL 1338943 at *4;

see also U.S. v. Lopez, 445 F.3d 90, 93 (2d Cir. 2006).

           2. Opportunity for Judicial Review

       In Mendoza–Lopez, subsequently codified in section 1326 of Title 8, the Supreme Court

held that “where a determination made in an administrative proceeding is to play a critical role in

the subsequent imposition of a criminal sanction, there must be some meaningful review of the

administrative proceeding.” Mendoza–Lopez, 481 U.S. at 837–38 (emphasis in original). Due

process is violated when a non-citizen is “effectively deprived” of the right to a direct appeal; an

unconsidered and unintelligent waiver of appeal rights is treated as a deprivation of those rights.

See id. at 840 (finding that because “the waivers of their rights to appeal were not considered or

intelligent, respondents were deprived of judicial review of their deportation proceeding”); see

also United States v. Perez, 213 F. Supp. 2d 229, 232 (E.D.N.Y. 2002) aff’d, 330 F.3d 97 (2d Cir.

2003) (citing United States v. Paredes–Batista, 140 F.3d 367, 376 (2d Cir. 1998)).

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       Waivers are not “considered” or “intelligent” if the immigration judge and counsel fail to

inform the non-citizen of his right to discretionary relief. See Mendoza–Lopez, 481 U.S. at 840

(waiver was not considered and intelligent when immigration judge “failed to advise respondents

properly of their eligibility to apply for suspension of deportation”); United States v. Calderon,

391 F. 3d 370 (2d Cir. 2004) (finding that defendant was deprived of a realistic opportunity for

judicial review where he “was specifically told that no such review was available to him”); United

States v. Sosa, 387 F.3d 131, 138 (2d Cir. 2004) (“Given the speed of this process and the fact that

the [immigration judge] did not inform Sosa of his eligibility for Section 212(c) relief, we hold

that he had no ‘realistic opportunity for judicial review by way of habeas.’”) (internal citation

omitted); see also United States v. Arrieta, 224 F.3d 1076, 1079 (9th Cir. 2000) (“an alien who is

not made aware that he has a right to seek relief necessarily has no meaningful opportunity to

appeal the fact that he was not advised of that right.”).

       In Perez, the court identified instances in which a deprivation of due process had been

found. These included failure to advise meaningfully of the right to appeal, failure to explain the

possibility of discretionary relief, inadequate explanation of other methods of avoiding

deportation, and ineffective counsel:

               Situations in which courts have found a deprivation of the
               opportunity for review include an unconsidered and unintelligent
               waiver of appeal, Mendoza–Lopez, 481 U.S. at 840, 107 S.Ct. 2148,
               95 L.Ed.2d 772; failure to advise of the availability of discretionary
               relief, United States v. Arrieta, 224 F.3d 1076, 1079 (9th Cir. 2000);
               United States v. Aguirre–Tello, 181 F. Supp. 2d 1298, 1303–1304
               (D.N.M. 2002); inadequate explanation of a section 212(c) hearing
               and such a hearing’s accompanying rights, United States v.
               Sanchez–Peralta, 1998 WL 63405, at *5 (S.D.N.Y. Feb.13, 1998);
               and failure to inform the alien of the time and date of a hearing,
               United States v. Montano–Betancourt, 151 F. Supp. 2d 794, 796–97
               (W.D. Tex. 2001). . . . Deprivation of judicial review can also be
               established by demonstrating ineffective assistance of counsel.



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Perez, 213 F. Supp. 2d at 232–33. Under circumstances such as the present one, lack of counsel

may be considered even more important evidence of an improper deportation process than

ineffective counsel.

          The availability of habeas review sometimes amounts to an opportunity for judicial review.

United States v. Copeland, 376 F.3d 61, 68 (2d Cir. 2004). In Copeland, the Court of Appeals for

the Second Circuit held that “where habeas review is technically available, judicial review will be

deemed to have been denied if resort to a habeas proceeding was not realistically possible.” Id.

(emphasis added). The court concluded that “where no realistic opportunity for judicial review by

way of habeas review existed, an alien’s failure to seek such review will not be deemed to preclude

a collateral attack on a deportation order under Section 1326(d)(2).” Id. at 68–69; see also

Calderon, 391 F.3d at 374–75.

          A lack of a realistic opportunity for judicial review has been found in instances where: a

non-citizen’s waiver of the right of appeal was not deemed to be knowing and intelligent, see, e.g.,

Copeland, 376 F.3d at 68–69 (citing Mendoza-Lopez, 481 U.S. at 836–37, 840); a non-citizen was

affirmatively misled by the government as to the availability of relief, see, e.g., Lopez, 445 F.3d at

98–99; and the immigration judge did not adequately inform the non-citizen of his eligibility for

relief under section 212(c), see, e.g., Sosa, 387 F.3d at 138; Calderon, 391 F.3d at 375–76.

          Given this broad and deep due process protection, telling an uncounseled young man with

limited education, who wants to obtain his mother’s advice before deciding whether to appeal

(when she is in fact unavailable) may in context be the equivalent of no notice of the right to

appeal.




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       Although “there is a strong policy in favor of finality, that policy does not override an

individual’s right to due process in a proceeding whose outcome is being asserted as an element

of a criminal offense.” Calderon, 2003 WL 1338943 at *6.

           3. Unfairness of Deportation Order

       To demonstrate that a deportation order was fundamentally unfair, a defendant “must show

both a fundamental procedural error and prejudice resulting from that error.” See United States v.

Perez, 330 F.3d 97, 104 (2d Cir. 2003) (citing Fernandez-Antonia, 278 F.3d at 159). “Prejudice

is shown where there is a reasonable probability that, but for the error, the result of the proceeding

would have been different.” United States v. Daley, 702 F.3d 96, 100 (2d Cir. 2012) (alterations

and citations omitted); see also Copeland, 376 F. 3d at 70 (“[I]n order to demonstrate prejudice an

alien must show that this proceedings contained errors so fundamental that he might have been

deported in error.”) (internal citation and quotation omitted).

 V.    Application of Law to Facts

       A. Defendant Exhausted Administrative Remedies

       Mr. Moncrieffe contends that he satisfied the administrative exhaustion requirement of

section 1326(d) in two ways: (1) through his BIA appeal; and (2) by his being affirmatively misled

as to deportability and the availability of relief from deportation. The government has not objected

to this view.

       Mr. Moncrieffe timely appealed his deportation order to the BIA. This alone satisfies the

exhaustion requirement of section 1326(d)(1).

       He was repeatedly mistakenly told by the immigration judge and the BIA that further relief,

including section 212(c) relief, was not available to him. Thus, his subsequent failure to seek

section 212(c) relief does not bar collateral review of the deportation proceedings. See Calderon,



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391 F.3d at 375 (excusing defendant from the exhaustion requirement where he did not seek

section 212(c) relief “because he was advised that he was barred by law from such relief”).

       B. Defendant Denied Opportunity for Judicial Review

       Mr. Moncrieffe asserts that he was wrongly told by the immigration judge and the BIA that

his 1993 robbery conviction rendered him deportable with no possibility of relief. He argues that,

as a pro se litigant, his failure to seek judicial review of the BIA’s ruling was not a knowing and

intelligent waiver of his right to court review. See Def.’s Mot. to Dismiss, at 11. The government

counters that both the immigration judge and the BIA preserved defendant’s ability to seek judicial

relief and that Mr. Moncrieffe: (1) failed to file a petition to review to the Court of Appeals for the

Second Circuit following the BIA’s order confirming his deportation; and (2) did not file a habeas

petition in the four years between the BIA’s decision and his deportation. See Gov’t Opp’n Mem.,

at 14–15.

       The Court of Appeals for the Second Circuit has recognized that where “no realistic

opportunity” for judicial review exists, a non-citizen’s failure to seek such review will not bar a

section 1326(d) collateral challenge to the underlying deportation. See, e.g., Calderon, 391 F.3d

at 375 (emphasis added); Copeland, 376 F.3d at 68–69. No such opportunity exists where an

uncounseled non-citizen is affirmatively told by the immigration authorities that no relief is

available to him.     See, e.g., Mendoza-Lopez, 481 U.S. at 836–37, 840 (determining that

“respondents were deprived of their rights to appeal, and of any basis to appeal since the only relief

for which they would have been eligible was not adequately explained to them”); Calderon, 391

F.3d at 375–76 (finding no realistic opportunity for judicial review where the defendant was

specifically told that section 212(c) relief was unavailable to him as a matter of law and the speed

of the deportation process rendered judicial review impracticable); Sosa, 387 F.3d at 138 (holding

that defendant had no realistic opportunity for judicial review due to “the speed of th[e] process
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and the fact that the [immigration judge] did not inform [him] of his eligibility for Section 212(c)

relief”); Lopez, 445 F.3d at 100 (“[T]he [immigration judge’s] and BIA’s . . . affirmative

misstatements to [the non-citizen] that he was not eligible for any relief from deportation

functioned as a deterrent to seeking relief.”) (emphasis added).

        Here, Mr. Moncrieffe—a young nineteen year old with limited education—appeared pro

se before the immigration judge and then the BIA. At the immigration proceedings, he indicated

his intention to obtain a lawyer “later on,” as well as his desire to discuss the matter with his

mother, who was on life support at the time, before making any critical decision that might affect

his ability to remain in the United States. See Rostal Decl., Ex. A, at 2:13, 9:6–7. Alone and

uncounseled, he was told by the immigration judge that, because he had “a gun charge violation, .

. . no relief is available for you and I could not let you stay in this country even if I wanted to.” Id.

at 7:11–16. The immigration judge had erroneously based his decision on a determination, without

supporting evidence, that Mr. Moncrieffe had pled guilty to “a gun charge violation.” See infra

Part V.C.1. The BIA then mistakenly reiterated that, because he was convicted of a “firearms

offense,” Mr. Moncrieffe was ineligible for section 212(c) relief “as a matter of law.” Rostal Decl.,

Ex. B, BIA Decision of Oct. 24, 1995, at SM000061; see also infra Part V.C.1.

        Like the defendant in Lopez, Mr. Moncrieffe “received erroneous information from the

[immigration judge] and the BIA about the availability of relief from deportation.” Lopez, 445

F.3d at 98. Recognized by the court in that case is that,

                [h]ad the [immigration judge] (and subsequently the BIA) not
                provided erroneous information . . . about the legal availability of §
                212(c) relief, it might have occurred to [defendant] to look for other
                remedies at law. The fact that an administrative body told him that
                no such relief existed is a powerful deterrent from seeking judicial
                relief.

Id. (emphasis added).


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       As in Lopez, the interval of time between Mr. Moncrieffe’s deportation order and his actual

deportation is not relevant here. Id. at 99 (“While the interval of time in which it is realistically

possible for an alien to seek judicial review may be quite short where the alien has not received

misinformation, the analysis differs where the government affirmatively misleads an alien about

the availability of relief.”). Mr. Moncrieffe was erroneously told by the immigration judge and

the BIA that no relief was available to him as a matter of law. “Waivers [of the right to judicial

review] are not fully informed if the immigration judge . . . fail[s] to inform the alien of his right

to discretionary relief.” Calderon, 2003 WL 1338943 at *5. The Court of Appeals for the Second

Circuit has firmly ruled,

               [g]iven that [immigration judges] have a duty to develop the
               administrative record, and that many aliens are uncounseled, our
               removal system relies on [immigration judges] to explain the law
               accurately to pro se aliens. Otherwise, such aliens would have no
               way of knowing what information was relevant to their cases and
               would be practically foreclosed from making a case against
               removal.

Copeland, 376 F.3d at 61, 71 (emphasis added).

       Mr. Moncrieffe was an uncounseled immigrant, and a youthful, poorly educated, nineteen

year old as well. In light of the repeated statements by immigration authorities that no further

relief was available to him, his failure to seek judicial review following his BIA appeal is not a bar

to a collateral attack on his deportation.

       C. Deportation Order Fundamentally Unfair

       Defendant argues that the deportation order was fundamentally unfair because: (1) both the

immigration judge and the BIA misapplied the categorical approach to determine whether the

record supported the two separate charges of removability; and (2) the BIA denied Mr. Moncrieffe

relief under section 212(c) based on the “comparable ground rule” which has been struck down by



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the Supreme Court as “arbitrary and capricious.” See Def.’s Mot. to Dismiss, at 12 (citing

Judulang v. Holder, 132 S. Ct. 476 (2011)).

           1. Misapplication of Categorical Approach

       According to defendant, the immigration judge and BIA misapplied the appropriate

categorical approach in determining that he was deportable as charged. The Supreme Court has

explained: “[w]hen the Government alleges that a state conviction qualifies as an ‘aggravated

felony’ under the INA, we generally employ a ‘categorical approach’ to determine whether the

state offense is comparable to an offense listed in the INA.” Moncrieffe v. Holder, 133 S. Ct. 1678,

1684 (2013) (citations omitted). The categorical approach had been adopted by the Supreme Court

and was being utilized by the BIA for several years prior to Mr. Moncrieffe’s case. See Taylor v.

United States, 495 U.S. 575 (1990); Moncrieffe, 133 S. Ct. at 1685 (stating that “[t]his categorical

approach has a long pedigree in our Nation’s immigration law” and citing Das, The Immigration

Penalties of Criminal Convictions: Resurrecting Categorical Analysis in Immigration Law, 86

N.Y.U. L. Rev. 1669, 1688–1702, 1749–1752 (2011) (tracing judicial decisions back to 1913)). It

is not disputed that the categorical approach is applicable in the instant case. See Hr’g Tr., Feb.

25, 2016, at 11:20–22.

       Central to the categorical approach is the rule that the crime of conviction is defined by the

applicable statute; the underlying actual conduct of the defendant is immaterial. “[T]he INA asks

what offense the noncitizen was convicted of not what acts he committed. [C]onviction is the

relevant statutory hook.” Moncrieffe, 133 S. Ct. at 1685 (internal citations and quotation marks

omitted) (emphasis added).

       Analysis under the categorical approach requires determining whether “the state statute

defining the crime of conviction categorically fits within the generic federal definition of a

corresponding aggravated felony.” Id. at 1684 (citing Gonzales v. Duenas–Alvarez, 549 U.S. 183,
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186 (2007)) (internal quotation marks omitted). The analysis does not center on “the facts of the

particular prior case.” Id. Instead, “a state offense is a categorical match with a generic federal

offense only if a conviction of the state offense necessarily involved . . . facts equating to [the]

generic [federal offense]. Whether the noncitizen’s actual conduct involved such facts is quite

irrelevant.” Id. (internal quotation marks and citations omitted) (emphasis added).

       The Supreme Court explained that the categorical approach requires a minimum conduct

analysis: “[b]ecause we examine what the state conviction necessarily involved, not the facts

underlying the case, we must presume that the conviction ‘rested upon [nothing] more than the

least of th[e] acts’ criminalized, and then determine whether even those acts are encompassed by

the generic federal offense.” Id. (citing Johnson v. United States, 559 U.S. 133, 137 (2010))

(emphasis added). Also irrelevant is what the defendant-deportee said he had done, or what an

immigration judge inferred was done.

       A hypothetical case clarifies the rule: Assume a federal statute provides that a state

conviction can be used as if it were a prior conviction in federal sentencing if it has the same or

more severe operative elements than the federal statute. The state statute, “A,” requires stealing

over $10.00. The federal statute, “B,” requires stealing over $20.00. The defendant is charged as

follows in the state under its statute, “A”: “Defendant stole $100, to wit a $100 gold United States

government issued coin.” And the defendant pled: “I plead guilty to violation of statute A. I stole

this $100 gold coin, marked exhibit 1.” That is not a prior congruent categorical crime under

federal statute “B,” because the defendant pled only to stealing $10.00, while the federal statute

required $20.00 or more.

       Mr. Moncrieffe properly contends that because the record from his 1993 conviction of

violating section 160.15 fails to specify what subsection of that section he was convicted of, and



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some subsections did not define a deportable offense, it was insufficient as a matter of law to

establish that his conviction amounted to (1) a “crime of violence” and thus an “aggravated felony”

under former INA section 241(a)(2)(A)(iii); and (2) a “firearms” offense subjecting him to

removability under former INA section 241(a)(2)(C).

                       a. Aggravated Felony

       Under then-applicable INA section 241(a)(2)(A)(iii), an aggravated felony triggering

removal proceedings could be found if the offense amounted to a “crime of violence.” See INA §

101(a)(43)(F), 8 U.S.C. § 1101(a)(43)(F) (1994) (cross-referencing 18 U.S.C. § 16). A crime of

violence was, and still is, defined by section 16 of Title 18 of the United States Code,

               (a) an offense that has as an element the use, attempted use, or
               threatened use of physical force against the person or property of
               another, or

               (b) any other offense that is a felony and that, by its nature, involves
               a substantial risk that physical force against the person or property
               of another may be used in the course of committing the offense.

18 U.S.C. § 16.

       The parties stipulated on the record that, because the immigration authorities only relied

on subsection 16(a) in their analysis, subsection 16(b) is not relevant to the present motion. It will

not be considered here. See Hr’g Tr., Feb. 25, 2016, at 9:14–10:4.

                                 i.    General Rule

       Under the applicable categorical approach, the immigration judge and BIA need to

compare the state elements of the offense of defendant’s conviction with the elements of the federal

“crime of violence” under section 16. Because the immigration judge and BIA did not rely on the

elements of the actual offense of which Mr. Moncrieffe was convicted in determining that he was

convicted of “a crime of violence,” it is accurately contended by the defendant that the conclusion

reached by the immigration authorities was erroneous.

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       Mr. Moncrieffe was convicted of robbery in the first degree under New York Penal Law

section 160.15, which provides various methods by which the crime could be committed as

follows:

                A person is guilty of robbery in the first degree when he forcibly
               steals property and when, in the course of the commission of the
               crime or of immediate flight therefrom, he or another participant in
               the crime:

               1. Causes serious physical injury to any person who is not a
               participant in the crime; or

               2. Is armed with a deadly weapon; or

               3. Uses or threatens the immediate use of a dangerous instrument;
               or

               4. Displays what appears to be a pistol, revolver, rifle, shotgun,
               machine gun or other firearm; except that in any prosecution under
               this subdivision, it is an affirmative defense that such pistol,
               revolver, rifle, shotgun, machine gun or other firearm was not a
               loaded weapon from which a shot, readily capable of producing
               death or other serious physical injury, could be discharged. Nothing
               contained in this subdivision shall constitute a defense to a
               prosecution for, or preclude a conviction of, robbery in the second
               degree, robbery in the third degree or any other crime.

N.Y. Penal Law § 160.15 (emphasis added).

       Neither the immigration judge nor the BIA addressed the specific elements of Mr.

Moncrieffe’s conviction. While the BIA recognized that “the judgment of conviction does not

specify the subsection of section 160.15 or the specific count under which the respondent was

convicted,” it nonetheless determined that:

               Inasmuch as the respondent’s first-degree robbery conviction was
               for a “crime of violence” for which the term of imprisonment
               imposed was at least 5 years, and given that both his criminal
               conduct occurred and his conviction was entered in 1993, we find
               that he has been convicted of an “aggravated felony” for purposes
               of section 101(a)(43)(F) of the Act.

Rostal Decl., Ex. B, BIA Decision of Oct. 24, 1995, at SM000059–60 (emphasis added).

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       This conclusory and unsupported statement does not comport with the strict requirements

of a categorical analysis. The categorical approach requires a narrow and precise comparison of

the actual statute of conviction to the federal definition of a corresponding aggravated felony.

Prohibited is any reliance on the names or captions of the predicate state offense, as well as on the

underlying facts of conviction.

       Because neither the immigration judge nor the BIA carried out the appropriate analysis

required under the categorical approach, the finding that Mr. Moncrieffe’s conviction amounted

to a deportable “aggravated felony” was improper.

       The government counters that “any robbery, no matter the nature of it, is a violent felony.”

Hr’g Tr., Feb. 25, 2016, at 21:21–24. According to the government, “forcibly stealing” is an

essential element of any conviction under section 160.15 and this element on its own satisfies the

“crime of violence” definition in federal section 16(a). See Gov’t. Opp’n Mem., at 17–18.

       Under the categorical approach, a court is to assume that a “conviction ‘rested upon

[nothing] more than the least of th[e] acts’ criminalized, and then determine whether even those

acts are encompassed by the generic federal offense.” Moncrieffe, 133 S. Ct. at 1681 (citing

Johnson v. United States, 559 U.S. 133, 137 (2010)) (emphasis added).

       “Forcibly stealing” is a common element of all New York robbery offenses. New York

Penal Law section 160.00 provides that:

               A person forcibly steals property and commits robbery when, in the
               course of committing a larceny, he uses or threatens the immediate
               use of physical force upon another person for the purpose of:

               1. Preventing or overcoming resistance to the taking of the property
               or to the retention thereof immediately after the taking; or

               2. Compelling the owner of such property or another person to
               deliver up the property or to engage in other conduct which aids in
               the commission of the larceny.


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N.Y. Penal Law § 160.00 (emphasis added).

       New York courts have explained that the “physical force” threatened or employed can be

minimal, including a bump, a brief tug-of-war over property, or even the minimal threatened force

exerted in “blocking” someone from pursuit by simply standing in their way. See, e.g., People v.

Lee, 602 N.Y.S.2d 138, 139 (N.Y. App. Div. 1st Dep’t 1993) (bumping victim); People v. Bennett,

631 N.Y.S.2d 834, 834 (N.Y. App. Div. 1st Dep’t 1995) (“human wall” blocking pursuit); People

v. Patton, 585 N.Y.S.2d 431, 431 (N.Y. App. Div. 1st Dep’t 1992) (blocking pursuit); People v.

Safon, 560 N.Y.S.2d 552, 552 (N.Y. App. Div. 4th Dep’t 1990) (tug-of-war); People v. Brown,

663 N.Y.S.2d 539, 540 (N.Y. App. Div. 1st Dep’t 1997) (attempting to push the victim); People

v. Pena, 50 N.Y.2d 400, 407 n.2 (N.Y. 1980) (defendant who commits robbery while carrying a

deadly weapon is guilty of robbery in the first degree; mere possession is sufficient for a

conviction); cf. United States v. Castleman, 134 S. Ct. 1405, 1412 (2014) (“Minor uses of force

may not constitute ‘violence’ in the generic sense. For example, in an opinion that we cited with

approval in Johnson, the Seventh Circuit noted that it was hard to describe . . . as violence a squeeze

of the arm [that] causes a bruise.”) (internal quotation marks and citation omitted).

       This is not disputed by the government:

               THE COURT: But any amount of force is okay under the New York
               statute, isn’t it?

               MS. WASHINGTON: Yes.

               THE COURT: You jostle somebody to make that person drop a
               purse, for example, is that force?

               MS. WASHINGTON: For purposes of New York law, sure, yes.

Hr’g Tr., Feb. 25, 2016, at 20:24–21:5.

       The government argues that because the language of New York Penal Law section 160.00

regarding the use or threat of physical force mirrors the language in section 16(a) of Title 18 of the

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United States Code, this is sufficient to determine that any crime of robbery under New York law

qualifies as a “violent felony,” for immigration purposes, regardless of the amount of force used.

See Hr’g Tr., Feb. 25, 2016, at 24:11–14, 25:7–25, 51:2–6. In support of its argument, the

government cites to United States v. Snype, 441 F.3d 119 (2d Cir. 2006). In Snype, the Court of

Appeals for the Second Circuit considered a defendant’s challenge to his conviction and sentence.

One of the issues raised was whether the “three strikes law” had been properly applied. In that

context, the court determined that “the plain language of § 3559(c)(2)(F)(i) identifies any robbery

in violation of § 2113, or an inchoate version of such a robbery—namely, attempt, conspiracy, or

solicitation to commit the offense—as a serious violent felony.” Snype, 441 F.3d at 144. It went

on to explain that, because the New York state robbery elements parallel those required to

establish robbery under the United States Code, New York state robbery convictions also qualified

as serious violent felonies under § 3559(c)(2)(F)(i). Id. (emphasis added).

       Correctly noted by defendant in the instant case, the Second Circuit decision in Snype did

not compare language to section 16 of Title 18 of the United States Code: “Snype held that New

York robbery is a serious violent felony because it matches the term robbery, not because it

matches the definition of a crime of violence for [i]mmigration purposes.” Hr’g Tr., Feb. 25, 2016,

at 49:8–11.

       The categorical analysis in the instant case requires careful matching of the crime of

conviction to the definition of “crime of violence” provided for in federal section 16(a). The

“forcibly stealing” element of an offense under New York Penal Law section 160.15, which is

defined in the State’s section 160.00 and is common to all New York robbery offenses, includes

de minimis levels of force which do not fall within the federal definition of a “crime of violence”

in section 16(a). In Johnson v. United States, the Supreme Court interpreted virtual identical



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language in the Armed Career Criminal Act (“ACCA”) definition of a “violent felony.” See

Johnson v. United States, 559 U.S. 133 (2010). Johnson found that “the phrase ‘physical force’

means violent force—that is, force capable of causing physical pain or injury to another person.”

Id. at 140 (emphasis in original). In reaching that decision, the Court relied on its prior reasoning

in Leocal v. Ashcroft where it specifically interpreted federal section 16 to apply to “a category of

violent, active crimes”:

               In construing both parts of § 16, we cannot forget that we ultimately
               are determining the meaning of the term “crime of violence.” The
               ordinary meaning of this term, combined with § 16’s emphasis on
               the use of physical force against another person (or the risk of having
               to use such force in committing a crime), suggests a category of
               violent, active crimes . . . .

Leocal v. Ashcroft, 543 U.S. 1, 11 (2004) (finding that a driving under the influence offense did

not qualify as a “crime of violence” under 18 U.S.C. § 16) (emphasis added).

       The BIA has recognized that the Supreme Court’s decision in Johnson controls the

interpretation of federal section 16(a). See, e.g., Matter of Velasquez, 25 I&N Dec. 278, 283 (BIA

2010) (“[I]n regard to crimes against the person, we conclude that the ‘physical force’ necessary

to establish that an offense is a ‘crime of violence’ for purposes of the Act must be ‘violent’ force,

that is, force capable of causing physical pain or injury to another person.”); Matter of Guzman-

Polanco, 26 I&N Dec. 713, 715–16 (BIA 2016), Ct. Ex. 1 (stating that Johnson controls the BIA’s

interpretation of a crime of violence under 18 U.S.C. § 16).

       Mr. Moncrieffe should not have been deemed convicted of a “crime of violence” simply

because he was convicted under New York’s section 160.15. The categorical approach requires

an analysis of the “least of th[e] acts criminalized.” See Moncrieffe, 133 S. Ct. at 1681. The

minimum conduct under any grade or subsection of the New York robbery statute does not require

violent physical force. In the colloquial phrase, violence under the federal statute occurs when


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“push comes to shove.” A gentle push is enough under the state law, but not under federal law.

This difference matters; “[t]his is a force required for a very serious thing, taking the person and

depriving him of his ability to stay in the United States.” Hr’g Tr., Feb. 25, 2016, at 27:7–9 (court’s

statement).

       The government argues that the validity of Mr. Moncrieffe’s deportation cannot be

assessed with reference to decisions made subsequent to his immigration proceedings. But, as

properly argued by defendant, this analysis is inapposite. Mr. Moncrieffe has brought a challenge

to a currently open criminal charge—illegal reentry—not a closed past offense. The Second

Circuit Court of Appeals has consistently considered such cases on the merits without limiting its

analysis to the law prevailing at the time of deportation. See, e.g., Copeland, 376 F.3d 61 (2d Cir.

2004); Gill, 748 F.3d 491 (2d Cir. 2014); Sosa, 387 F.3d 131 (2d Cir. 2004).

       In the alternative, the government contends that current Second Circuit law supports its

position that robbery in the first degree in violation of New York Penal Law section 160.15 is a

crime of violence under federal section 16(a). See Government Letter re Second Circuit Law, Mar.

7, 2016, ECF No. 39. It relies upon United States v. Bennett, 604 F. App’x 11 (2d Cir. 2015) a

summary order in which the Court of Appeals for the Second Circuit affirmed the defendant’s

conviction of being a felon in possession of a firearm, and United States v. Wiggan, 530 F. App’x

51 (2d Cir. 2013), another summary order where the court affirmed the defendant’s conviction for

possession of ammunition by a convicted felon. In both cases the court considered whether a

fifteen year minimum sentence mandated by ACCA was appropriate, in light of the district courts’

findings that the defendants’ prior convictions amounted to “violent felonies” under “18 U.S.C. §

924(e).” In Bennett, the court determined that the district court did not err in looking only to

defendant’s New York certificate of disposition and concluding that his conviction for attempted



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robbery in the first degree in violation of New York Penal Law section 160.15 amounted to a

violent felony under ACCA, because a “requisite element” of the crime was “the use, attempted

use, or threatened use of physical force against the person of another.” See Bennett, 604 F. App’x

at 15 (internal quotation marks and citations omitted). In Wiggan, the court indicated that first

degree robbery under Connecticut law falls within “the first prong of the definition of ‘violent

felony,’ which covers offenses having ‘as an element the use, attempted use, or threatened use of

physical force against the person of another.’” Wiggan, 530 F. App’x at 57 (internal citations

omitted).

        Neither of the cases cited by the government—Bennett and Wiggan—supports the

government’s analysis in the instant case. First, both decisions are summary orders, which are not

binding. See 2d Cir. R. 32.1.1(a) (“Rulings by summary order do not have precedential effect.”).

Second, neither case addressed the degree of force required under the relevant state and federal

laws.

        The government indicates that this question is currently being considered by the Court of

Appeals for the Second Circuit in the case of United States v. Jones, Case No. 15-1518. See

Government Letter re Second Circuit Law, Mar. 7, 2016, ECF No. 39. Presently on appeal in

Jones is whether, following the Supreme Court’s decision in Johnson, the New York crime of

robbery can be considered a “crime of violence” for purposes of the United States Sentencing

Guidelines career offender provisions. See Brief for Appellee United States of America, United

States v. Jones, Case No. 15-1518, Jan. 27, 2016, at 18–28; Reply Brief for Appellant Corey Jones,

United States v. Jones, Case No. 15-1518, Feb. 17, 2016, at 2–7; USSG §§ 4B1.1–2. That case

has not been decided and does not control the instant case.




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       Both the immigration judge and the BIA failed to apply the requisite categorical approach;

they summarily and incorrectly concluded that Mr. Moncrieffe was convicted of an “aggravated

felony” simply because he pled guilty to a violation of New York State’s section 160.15. The

“physical force” required under the New York robbery statute can be minimal and does not need

to amount to the necessary “violent force” under federal section 16(a). Mr. Moncrieffe was not

convicted of a federal “crime of violence” because he pled guilty to a violation of New York State’s

section 160.15.

                                 ii.   Special Problem of Interpretation of State Law by State
                                       Court

       Integrating part of the laws of one jurisdiction with part of the laws of another—as is

required in applying the categorical approach—often involves difficulties in obtaining a

satisfactory fit and in determining congruency. The general rule, as noted in Part V.C.1.a.i above,

requires that the state statute be laid alongside the federal statute with the language of the state

statute precisely and narrowly construed. But, there is a lurking problem in the rule as so stated:

what shall a federal court do when “reading” a state’s statute already interpreted and given a life

of its own by the state’s courts. The same words are likely to have been given slightly different

meanings by the courts of the two jurisdictions. Supposing, for example, the state’s courts were

to have construed the state statute as requiring a different amount of “violence” than the federal

statute. This question poses an interesting dilemma.

       In the present case it is easily resolved since the New York State courts require the

“slightest force” rather than any form of “violent force,” so the categorical approach must result

in a favorable decision for defendant. The alternative situation of a state court’s interpretation

requiring a higher force or the same force as the applicable federal statute is interesting.




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        One approach would be to ask, “what did the defendant who pled in the state court think

he was pleading to with respect to degree of force when he pled?” This is a more subtle question

than the mechanical one posed in People v. Olah, infra Part V.C.1.b. A lawyer could give a

reasonable answer since he or she would have presumably read the state cases. The meaning

attributed to the words by defendant, however, would be an amount of force less than that required

by the federal statute if he in fact applied minimal force in committing the crime. Perhaps the rule

of lenity would apply. In the present case the rule of lenity need not be turned to because the

straightforward analysis of New York State decisions declaring the miniscule degree of force

required by section 160.15 requires a finding for defendant on the categorical issue. See supra

Part V.C.1.a.i.

                         b. Firearms Offense

        Former section 241(a)(2)(C) of the INA, captioned “Certain firearm offenses,” provided:

                  Any alien who at any time after entry is convicted under any law of
                  purchasing, selling, offering for sale, exchanging, using, owning,
                  possessing, or carrying in violation of any law, any weapon, part, or
                  accessory which is a firearm or destructive device (as defined in
                  section 921(a) of Title 18) is deportable.

8 U.S.C. § 1251(a)(2)(C) (1994) (emphasis added).

        Defendant argues that the BIA erroneously determined that Mr. Moncrieffe’s conviction

triggered the firearm offense as a reason for deportation. Only two of the four subsections in

section 160.15 could potentially prompt deportation under the firearms offense. See N.Y. Penal

Law § 160.15(2) (“armed with a deadly weapon”) and § 160.15(4) (“Displays what appears to be

a pistol, revolver, rifle, shotgun, machine gun or other firearm . . . .”). Yet, the record of conviction

did not indicate which subsection Mr. Moncrieffe was convicted of.

        On February 12, 2016, this court ordered the parties to produce “the transcript of the

proceedings in which Mr. Moncrieffe pleaded guilty to the crime of Robbery in the First Degree
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in violation of N.Y. Penal Law § 160.15.” Order, Feb. 12, 2016, ECF No. 32. On February 24,

2016, the government confirmed that, despite diligent efforts, the Queens County Supreme Court

“cannot locate in its courthouse facilities or archives the stenographic notes required to produce a

transcript of the October 1, 1993 proceedings.” Gov’t Letter re Plea Minutes, Feb. 24, 2016, ECF

No. 36. Mr. Moncrieffe’s plea minutes were not before the immigration authorities and are not

available for consideration in the instant case. See Hr’g Tr., Feb. 25, 2016, at 35:14–17.

                                 i.   BIA Inference Impermissible

       The BIA based its finding that Mr. Moncrieffe was convicted of a firearms offense upon

an inference derived from the charges in the indictment, the language in the indictment referencing

a “handgun,” and Mr. Moncrieffe’s admission at the immigration proceedings. Reliance on this

kind of information is prohibited. It is contrary to the fundamental principles underlying both the

“categorical” and any “modified categorical” approaches.

       The analysis under the categorical approach requires careful matching of the statute of

conviction with the corresponding federal statute.      Prohibited is any inquiry into the facts

underlying the conviction. As early as December 1949, New York Court of Appeals judge Stanley

H. Fuld, formerly head of the Appeals Bureau for the New York District Attorney Thomas E.

Dewey and the leading expert on criminal law, explained the required strict analysis in the context

of New York’s second offense rule (providing that a defendant convicted of a felony in New York

was to be punished as a second felony offender if he was previously “convicted under the laws of

any other state of a crime which, if committed within this state, would be a felony”):

               Since an indictment not infrequently contains immaterial and
               nonessential recitals, we cannot determine the “crime” with which a
               defendant is charged—and, of course, of which he is convicted—by
               mere examination of the indictment’s allegations. To ascertain that
               “crime,” we must of necessity consider the statute which created and
               defined it and upon which the indictment was based.


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People v. Olah, 300 N.Y. 96, 98 (N.Y. 1949).

       The government argues that section 160.15 is a “divisible” statute, and agrees that only

subsections (2) and (4) trigger deportation. It contends that, pursuant to a “modified” categorical

approach applicable to divisible statutes, a court may refer to “other documents” and need not

“limit [itself] to the elements of the crime.” Hr’g Tr., Feb. 25, 2016, at 32:12–16. The defendant

disputes the applicability of any such “modified” categorical approach to the instant case. Whether

the categorical or a modified categorical approach applies is of no consequence—the BIA’s

analysis relied on information impermissible under either framework.

       Where a statute is “divisible,” meaning that certain categories of proscribed conduct trigger

deportation but some do not, a “modified” categorical approach has at times been considered

appropriate. See Akinsade v. Holder, 678 F.3d 138, 144 (2d Cir. 2012), as amended (May 11,

2012). Pursuant to such a “modified” categorical approach, it is sometimes said that a court “may

refer to the record of conviction to ascertain whether a petitioner’s conviction was under the branch

of the statute that proscribes removable offenses.” Id. (citing Wala v. Mukasey, 511 F.3d 102, 107

(2d Cir. 2007)) (internal quotation marks omitted). While the record of conviction has been said

to include “a charging document (such as an indictment), a signed plea agreement, a verdict or

judgment of conviction, a record of the sentence; a plea colloquy transcript, and jury instructions

. . . the BIA may rely only upon facts to which a defendant ‘necessarily pleaded’ in order to

determine the type of conduct that represented the basis of an alien’s conviction.” Id. (internal

quotation marks and citations omitted) (emphasis added); see also Dulal–Whiteway v. U.S. Dep’t

of Homeland Sec., 501 F.3d 116, 131 (2d Cir. 2007) (holding that the BIA may only consider “facts

to which a defendant actually and necessarily pleaded in order to establish the elements of the




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offense, as indicated by a charging document, written plea agreement, or plea colloquy transcript”)

(emphasis added).

       In the instant case, the BIA acknowledged that only two of the four subsections in New

York Penal Law section 160.15 could prompt deportation predicated upon a firearms offense. It

also noted that Mr. Moncrieffe’s judgment of conviction did not specify under what subsection of

section 160.15 he was convicted. Rostal Decl., Exhibit B, BIA Decision of Oct. 24, 1995, at

SM00059–60. Defendant’s plea agreement or colloquy were not before the BIA and were not

considered by it. Yet, the BIA “inferred” that Mr. Moncrieffe was convicted of either subsection

(2) or (4) based on the information in the indictment and Mr. Moncrieffe’s own admissions at the

immigration proceedings. Id. (emphasis added).

        The BIA’s inference was impermissible. First, the BIA’s reliance on Mr. Moncrieffe’s

admissions at his deportation hearings is misplaced—such immigration hearing testimony is

irrelevant under any categorical approach and plainly does not constitute part of the limited state

“record of conviction” that a court may consider under the modified categorical approach. As

explained by the BIA in a 1996 decision:

               We will . . . limit our inquiry to the respondent’s Certificate of
               Disposition, despite his testimony that the weapon in his possession
               at the time of his arrest was a gun, since it is the crime that he
               actually was convicted of rather than a crime that he may have
               committed which is the determinative issue to be resolved here.

               Moreover, the principle of not looking behind a record of conviction
               provides this Board with the only workable approach in cases where
               deportability is premised on the existence of a conviction. If we
               were to allow evidence that is not part of the record of conviction as
               proof of whether an alien falls within the reach of section
               241(a)(2)(C) of the Act, we essentially would be inviting the parties
               to present any and all evidence bearing on an alien’s conduct leading
               to the conviction, including possibly the arresting officer’s
               testimony or even the testimony of eyewitnesses who may have been
               at the scene of the crime. Such an endeavor is inconsistent both with
               the streamlined adjudication that a deportation hearing is intended
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               to provide and with the settled proposition that an Immigration
               Judge cannot adjudicate guilt or innocence.

               If we were to make an exception here and accept the respondent’s
               testimony as proof of his deportability under section 241(a)(2)(C) of
               the Act, there would be no clear stopping point where this Board
               could limit the scope of seemingly dispositive but extrinsic evidence
               bearing on the respondent’s deportability. We believe that the harm
               to the system induced by the consideration of such extrinsic evidence
               far outweighs the beneficial effect of allowing it to form the
               evidentiary basis of a finding of deportability.

Matter of Pichardo-Sufren, 21 I&N Dec. 330, 335–36 (BIA 1996) (internal citations omitted)

(emphasis added).

       Second, the BIA relied on the indictment to summarily conclude that Mr. Moncrieffe must

have pled guilty to one of the crimes he was charged with. This is contrary to the requirement that,

to the extent reference to the record of conviction is allowed, it must only be used in order to

determine what a defendant “actually and necessarily pleaded to.” James v. Mukasey, 522 F.3d

250, 257–58 (2d Cir. 2008) (internal quotation marks and citation omitted) (emphasis added).

       Mr. Moncrieffe’s judgment of conviction only showed he was convicted of robbery in the

first degree—it did not indicate which of the available four subsections of section 160.15 he pled

guilty to.   Neither defendant’s plea agreement nor his pleading transcript were before the

immigration authorities.    Instead, the BIA turned to the indictment and inferred that Mr.

Moncrieffe must have pled guilty to one of the implied charged offenses.

       The Court of Appeals for the Second Circuit has indicated that an official may not assume

that a guilty plea to a given criminal statute is based on the theory of the crime set forth in the

charging instrument; the question is what was “actually and necessarily pleaded to,” as revealed

by a transcript of the plea or equivalent evidence. Mukasey, 522 F.3d at 257–58 (internal quotation

marks and citation omitted) (emphasis added).          In Mukasey, the court determined that the

immigration judge and BIA “relied upon a factual allegation in the charging instrument . . . to

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conclude that [plaintiff] was convicted of sexual abuse of a minor. But this factual allegation was

not ‘actually and necessarily pleaded’ to in order to establish the elements of endangering the

welfare of a child.” Id. at 257 (citation omitted). As in Mukasey, Mr. Moncrieffe did not “actually

and necessarily” have to plead to the use of a weapon or firearm in order to be found guilty of

robbery in the first degree.

           Judge Fuld explained, over sixty years ago in the context of New York’s second offense

statute,

                  The application of section 1941 cannot be made to turn upon the
                  expansiveness of the prosecutor who prepared and drafted the
                  indictment in the other State. One prosecutor may content himself
                  with pleading only essential allegations, while another may choose
                  to include immaterial and surplus recitals. Liberty—even of habitual
                  malefactors—is too important to depend upon the drafting technique
                  or the pleading preference of a particular official.

Olah, 300 N.Y. at 101 (emphasis added). Deportation is a drastic measure. It cannot turn on

dubious inferences, when the law requires a rigorous comparative analysis of the statutes in

question.

           The government contends that defendant’s criminal history shows defendant pled guilty to

section 160.15(2). It cites to Federal Bureau of Investigation (“FBI”) criminal history records

dated February 20, 2002 (Gov’t Opp’n Mem., Ex. 4, NCIC Query Results, Feb. 20, 2002, ECF

No. 29-4, at SM00100) and July 10, 2015 (Gov’t Opp’n Mem., Ex. 5, FBI Record, July 10, 2015,

ECF No. 29-5, at SM000027).

           These documents are not part of the record of conviction upon which a court may rely in

determining what a defendant “actually and necessarily pleaded to.” See Akinsade, 678 F.3d at

144–45. Courts have determined that such “[r]ap sheets lack the necessary information to describe

the full record of conviction and do not necessarily emanate from a neutral, reliable source.”

Francis v. Gonzalez, 442 F.3d 131, 143 (2d Cir. 2006). The Court of Appeals for the Second
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Circuit has recognized that, “[i]n identifying reliable evidence, there are good reasons to prefer

records emanating from neutral courts and magistrates instead of from agencies whose jobs are to

seek to detect and prosecute crimes,” adding that, “[i]n addition to biases, there may also be

increased possibility of error the farther the information spreads from its original source.” Id. In

any event, these secondary documents relied upon by the government were not considered by the

immigrant judge or the BIA.

       In the absence of clear, reliable evidence from Mr. Moncrieffe’s record of conviction

indicating what subsection of 160.15 he “actually and necessarily pleaded to,” the BIA’s finding

that he was deportable because he was convicted of a firearms offense cannot be sustained. See

Matter of Pichardo-Sufren, 21 I. & N. Dec. at 336 (finding that a charge of deportability under

section 241(a)(2)(C) of the INA had not been proven where “[t]he only document in evidence . . .

which constitutes a part of [the defendant’s] ‘record of conviction’ fails to identify the weapon

which he was convicted of possessing, the subdivision of the criminal statute that he was convicted

under, and the essential elements of the offense which he was convicted of committing”). This

issue was discussed extensively at the hearing on defendant’s motion to dismiss the indictment:

               MS. WASHINGTON [for the government]: Your Honor, the
               government’s position is that because the robbery in the first degree
               statute is a divisible statute, [the] Board of Immigration Appeals was
               allowed to look at other documents and I think where we are getting
               lost is whether or not the weapon -- the second prong with respect
               to a deadly weapon is broader than the federal definition.

               […]

               But there is a section of the hypothetical that the Court provides,
               which is --

               THE COURT: Which court is this?

               MS. WASHINGTON: This is the Supreme Court.

               […]

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           THE COURT: Whose opinion is this?

           MS. WASHINGTON: This is the Supreme Court’s opinion.

           THE COURT: Who wrote it?

           MS. WASHINGTON: Justice Kagan. It says, so assume along the
           lines of the Ninth Circuit’s example, that a statute criminalizes
           assault with any of eight specified weapons, and suppose further as
           the Ninth Circuit did that only assault with a gun counts as a Career
           Criminal Act offense, [the] later sentencing court need only check
           the charging documents and instructions to determine whether in
           convicting a defendant under that divisible statute the jury
           necessarily found that he committed the act of qualifying crime. . . .

           She is just giving a hypothetical to say that if you have a divisible
           statute, which the government contends that the robbery in the first
           degree statute is, a court, or in this case [the] Board of Immigration
           Appeals, can look to other documents. You don’t just have to limit
           yourself to the elements of the crime.

           THE COURT: . . . I am not going to allow a deportation because a
           District Attorney fluffs up his indictment with . . . stuff that doesn’t
           count or they have a colloquy about it. It doesn’t seem to me it
           comports with what we are talking about. It has to be the terms of
           the statute.

           […]

           MS. WASHINGTON: Your Honor, the government cited to -- I can
           read it here. Again, even in Reno, which is another case, it says that
           when a criminal statute is divisible into multiple categories of
           offense conduct, some but not all of which constitute removable
           offenses, the Court may refer to the record of conviction.

           THE COURT: But if he pleads to the statute which includes non-
           deportable offenses, that’s all he pleads to, do you plead guilty to
           the commission of crime (A)? If (A) has one, two, three, four, five
           and only five is a crime of violence or gun case, he hasn’t pleaded
           to five. Nobody knows what he’s pleaded to.

           MS. WASHINGTON: Your Honor, we don’t have the plea.
           Unfortunately, we don’t have the plea.

           THE COURT: We don’t have the plea. That’s the case I have. I
           do not have the plea. I do not have the transcript. The assumption
           of the hearing officer, as I understand it, was that he pleaded


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           generally, not to (a)(1) or (a)(2) or (a)(3), but to (A). . . . Isn’t that
           so?

           MS. WASHINGTON: The determination of Board of Immigration
           Appeals was that he pled either to use of a deadly weapon --

           THE COURT: . . . How [did] the Board know that?

           MS. WASHINGTON: The Board looked to both the indictment and
           to the defendant’s own testimony at the Immigration --

           THE COURT:         Was he indicted under a subdivision, specific
           subdivision?

           MS. WASHINGTON: Correct. He was indicted under the
           subdivision with respect to use of a deadly force and with respect to
           a display of a weapon, which --

           THE COURT: Let me see the indictment, please.

           MS. WASHINGTON: Which lists a number of weapons. . . . I think
           that’s the dispute. Board of Immigration Appeals assumed that he
           pled to either subsection 2 or subsection 4 because those were the
           subsections charged.

           THE COURT: You can’t assume that. What did he plead to?

           MS. WASHINGTON: Your Honor, the Board of Immigration
           Appeals is allowed to under the rules [to] consider a number of
           different documents with respect to determining the record of
           conviction, including the charging document.

           THE COURT: What did he plead to? Did he say, I plead to a
           specific subdivision?

           MS. WASHINGTON: Your Honor, we don’t have the plea minutes.

           THE COURT: Then I will assume . . . that he pleaded not to a
           subdivision but to the section, which is what the hearing officer also
           assumed.

           MS. WASHINGTON: The hearing officer in the Board of
           Immigration Appeals assumed that he pled to either subsection 2 or
           subsection 4.

           THE COURT: How could he make an assumption? He wasn’t
           there.


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               […]

               MS. WASHINGTON: That’s the inference that the Board of
               Immigration -- Your Honor, it is the government’s position that
               Board of Immigration Appeals was permissibly allowed to consider
               a document.

               THE COURT: No, it can’t. It is not allowed to make any such
               assumptions as to what happened. What’s the reality? You have a
               kid who is before a state court for a crime. He is trying to help out
               or not help out. He is trying to get out or not get out.

Hr’g Tr., Feb. 25, 2016, at 30:21–36:25.

                                 ii.   No Categorical Match in “Firearm” Definition

       The defendant correctly notes that, even if, arguendo, one were to assume the BIA’s

inference to be proper, there is no categorical match between the New York State definition of

“firearm” and that provided in the relevant federal statute. See Hr’g Tr., Feb. 25, 2016, at 13:15–

15:4. Section 241(a)(2)(C) of the INA referred to the definition of “firearm” as provided for under

section 921(a) of Title 18 of the United States Code. Pursuant section 921(a)(3) an antique firearm

is not a “firearm” under the federal statutes:

               The term “firearm” means (A) any weapon (including a starter gun)
               which will or is designed to or may readily be converted to expel a
               projectile by the action of an explosive; (B) the frame or receiver of
               any such weapon; (C) any firearm muffler or firearm silencer; or (D)
               any destructive device. Such term does not include an antique
               firearm.

18 U.S.C. § 921(a)(3) (emphasis added).

       An “antique firearm” is defined as including any firearm manufactured “in or before 1898.”

18 U.S.C. § 921(a)(16)(A). New York’s definition of “firearm” does not exclude in terms weapons

manufactured in or before 1898. See N.Y. Penal Law §§ 265.00(3), (14).




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        Even though the handgun a defendant carried would not be considered a “firearm” for

purposes of the relevant federal statute, it could still fall within the New York definition of firearm.

See 18 U.S.C. § 921(a); see also Hr’g Tr., Feb. 25, 2016, at 30:16–20, 14:20–22 (“[T]here are

things that are criminally punishable [as] guns in New York that are federal antiques and therefore

don’t fall under the removal ground . . . .”).

        Assuming the BIA were allowed to look at the state record, there is no evidence to indicate

that the “handgun” allegedly displayed by Mr. Moncrieffe as provided for in the indictment was a

handgun falling within the federal definition of a “firearm” under section 921(a). See Hr’g Tr.,

Feb. 25, 2016, at 39:3–14. The categorical analysis, whether “modified” or not, requires a strict

approach: “We are dealing with a very specific charge and a very specific offense and they have

to overlap completely.” Id. at 40:12–14 (court’s statement). This is not the case here. The BIA’s

finding that Mr. Moncrieffe satisfied the criteria of then-applicable INA section 241(a)(2)(C) was

erroneous.

             2. Denial of Section 212(c) Relief on Comparable Grounds

        Prior to its repeal, section 212(c) stated in relevant part that “[a]liens lawfully admitted for

permanent residence who temporarily proceeded abroad voluntarily and not under an order of

deportation, and who are returning to a lawful unrelinquished domicile of seven consecutive years,

may be admitted in the discretion of the Attorney General . . . .” § 212(c), 8 U.S.C. § 1182(c)

(1994). Defendant contends that, while former section 212(c) as written only applied to lawful

residents seeking to waive grounds of exclusion when returning to the United States from abroad,

“courts held that § 212(c) relief was equally available to permanent residents who, like Mr.

Moncrieffe, had not departed, but who had lived for seven consecutive years in the United States

and were facing possible deportation under the separate grounds of deportability that applied to

those already present in the United States.” Def.’s Mot. to Dismiss, at 27–28 (citing INS v. St. Cyr,
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533 U.S. 289, 294 (2001); Francis v. INS, 532 F. 2d 268, 273 (2d Cir. 1976); Matter of Silva, 16

I&N Dec. 26 (BIA 1976)).

       After determining that defendant’s 1993 robbery conviction amounted to a deportable

offense in that it qualified as an aggravated felony and firearms offense, the BIA found—and told

defendant—that no relief under the then applicable section 212(c) was available to him. According

to the BIA, relief under former section 212(c) was available only if the non-citizen was subject to

a “ground of deportability for which there is a comparable ground of excludability.” See Rostal

Decl., Ex. B., BIA Decision of Oct. 24, 1995, at SM000060–61. The BIA concluded that because

Mr. Moncrieffe had been found deportable pursuant to section 241(a)(2)(C) (providing removal

for certain firearms offenses), “a section having no counterpart among the enumerated grounds of

exclusion, he [was] ineligible as a matter of law for relief under section 212(C) of the Act,

notwithstanding the fact that he has resided in this country for the past 13 years as a lawful

permanent resident.” See id. at SM000061.

       Defendant argues that the “comparable ground” understanding of the scope of the section

212(c) waiver was inapplicable and has since been discredited by the Supreme Court, which called

the “comparable grounds” rule “arbitrary and capricious” in Judulang v. Holder, 132 S. Ct. 476

(2011). According to defendant, he qualified for relief under section 212(c) because at the time of

the deportation hearings “he had lawfully resided in the United States for at least seven years, and

had not been incarcerated for more than five years for an aggravated felony.” Def.’s Mot. to

Dismiss, at 28. Defendant argues that the BIA improperly denied him relief solely based on the

now discredited and inapplicable “comparable grounds rule.” The government counters that the

BIA properly applied the available rule at the time of defendant’s deportation proceedings. See

Gov’t Opp’n Mem., at 27–28.



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       Because the BIA incorrectly determined that Mr. Moncrieffe was deportable, the parties

agreed that the court need not reach the merits of defendant’s section 212(c) challenge. See Hr’g

Tr., Feb. 25, 2016, at 7:9–22. Should the Court of Appeals for the Second Circuit disagree with

this court’s analysis, the section 212(c) challenge can be separately addressed.

           3. Prejudice

       In order to show fundamental unfairness pursuant to section 1326(d)(3), a defendant must

demonstrate that a fundamental procedural error resulted in prejudice. See Copeland, 376 F.3d at

70. “Prejudice is shown where there is a reasonable probability that, but for the error, the result

of the proceeding would have been different.” United States v. Daley, 702 F.3d 96, 100 (2d Cir.

2012) (alterations and citations omitted) (emphasis added); Fernandez-Antonia, 278 F.3d at 159

(to demonstrate prejudice, a non-citizen “must show that his proceeding contained errors so

fundamental that he might have been deported in error”) (emphasis added); Sosa, 387 F.3d at 138

(“An alien is prejudiced by a fundamental procedural error ‘where there is a reasonable probability

that, but for the [immigration judge’s] unprofessional errors, the alien would have been granted

Section 212(c) relief.’”) (quoting Copeland, 376 F.3d at 73).

       In the instant case, Mr. Moncrieffe was prejudiced by the fundamental errors of the

immigration judge and BIA. Their conclusion that defendant was deportable was based on a

misapplication of the required categorical approach. Had the BIA properly applied the categorical

approach, it would have determined that the record before it was insufficient to establish that

defendant had committed “a crime of violence” and a crime involving a firearm. Mr. Moncrieffe

should not have been deemed deportable, and his immigration proceedings should have been

terminated in his favor.




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VI.    Conclusion

       Mr. Moncrieffe has satisfied the elements of section 1326(d).             He exhausted his

administrative remedies by appealing the immigration judge's decision to the BIA. He was

deprived of the opportunity for judicial review because he was mistakenly and repeatedly told

during the immigration proceedings, at which he appeared pro se, that no relief was available to

him. Mr. Moncrieffe' s 1995 deportation order was fundamentally unfair in that it was based on a

misapplication of the requisite categorical approach. He was prejudiced; had the immigration

judge and BIA properly applied the categorical approach, he would not have been deemed

removable and the deportation proceedings would have been terminated.

       Because the deportation order on which Mr. Moncrieffe's illegal reentry charge is based is

invalid, defendant was wrongfully deported and he, in effect, never left the country.

       Defendant's motion to dismiss the indictment is granted.



                                                       SO ORDERED.




                                                        ack B. Weinstein
                                                       Senior United States District Judge
Date: March 10, 2016
      Brooklyn, New York




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